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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re
                                                            Chapter 11
Renee Maslikhov aka Renee Butler,
                                                            Case No. 19-42688
         Debtor.
--------------------------------------------------------x
Renee Maslikhov,

                 Plaintiff,                                 Adv. Pro. No. 19−01083

        -against-

Sergei Maslikhov

                  Defendant.
--------------------------------------------------------x

                                          NOTICE OF HEARING

                 PLEASE TAKE NOTICE that a hearing on the annexed Motion of Sergei

Maslikhov For: (I) Entry of Order, Pursuant To Bankruptcy Code § 363(J) and New York Law,

Determining Mr. Maslikhov and Debtor Are Each Entitled To One-Half of Surplus Proceeds of §

363(H) Sale of Property Located At 328 Jefferson Avenue, Brooklyn, New York and Directing

Debtor To Distribute One-Half of Surplus Proceeds To Mr. Maslikhov; (II) Entry of Order,

Pursuant To Bankruptcy Code § 363(E), Conditioning Any § 363(H) Sale of The Property On

Debtor Adequately Protecting Mr. Maslikhov’s Interests In Surplus Proceeds; (III)

Reconsideration of Conformation of Debtor’s Second Amended Plan of Reorganization To

Extent Plan Violates Requirements of Bankruptcy Code § 363(J) and Impairs Mr. Maslikhov’s

Interests In Surplus Proceeds; and (IV) Entry of Confirmation Order Requiring Debtor Amend

To Plan To Provide That One-Half of Surplus Proceeds Be Distributed To Mr. Maslikhov and

All Unsecured Debts and Administrative Expenses of Debtor Be Paid Solely Out of Debtor’s

Share of Surplus Proceeds (the “Motion”) will take place before the Hon. Carla Craig, Chief
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United States Bankruptcy Judge, at the United States Bankruptcy Court for the Eastern District

of New York, Conrad B. Duberstein U.S. Courthouse, 271 Cadman Plaza East, Brooklyn, NY

11201 (the “Bankruptcy Court”) on November 20, 2019 at 2:30 PM (New York Time) or as

soon thereafter as counsel may be heard.

              PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion

must be made in writing and filed with the Clerk of the Bankruptcy Court, with copy delivered to

(i) Hon. Carla Craig, Chief United States Bankruptcy Judge, U.S. Bankruptcy Court, EDNY,

Conrad B. Duberstein Courthouse, 271-C Cadman Plaza East - Suite 1595, Brooklyn, NY

11201-1800; (ii) office of the United States Trustee, EDNY (Brooklyn office), U.S. Federal

office Building, 201 Varick Street, Suite 1006, New York, NY 10014; and (iii) The Law offices

of Jeremy S. Sussman, Attn: Jeremy Sussman Esq., 225 Broadway, Suite 3800, New York, New

York 10007; in all cases so as to be received no later than November 13, 2019 at 4:00 P.M.

(New York Time) (the “Objection Deadline).

              PLEASE TAKE FURTHER NOTICE that if no objections are filed by the

Objection Deadline, the Court may enter an order approving the Motion without a hearing.

 Dated: New York, NY
        October 29, 2019

                                           THE LAW OFFICES OF JEREMY S. SUSSMAN
                                           By: /s/ Jeremy S. Sussman
                                           Jeremy S. Sussman
                                           225 Broadway, Suite 3800
                                           New York, NY 10007
                                           (646) 322-8373

                                           Counsel for Sergei Maslikhov
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re
                                                            Chapter 11
Renee Maslikhov aka Renee Butler,
                                                            Case No. 19-42688
         Debtor.
--------------------------------------------------------x
Renee Maslikhov,

        Plaintiff,                                          Adv. Pro. No. 19−01083

-against-

Sergei Maslikhov

                  Defendant.
--------------------------------------------------------x

  MOTION OF SERGEI MASLIKHOV FOR: (I) ENTRY OF ORDER, PURSUANT TO
     BANKRUPTCY CODE § 363(J) AND NEW YORK LAW, DETERMINING MR.
 MASLIKHOV AND DEBTOR ARE EACH ENTITLED TO ONE-HALF OF SURPLUS
    PROCEEDS OF § 363(H) SALE OF PROPERTY LOCATED AT 328 JEFFERSON
  AVENUE, BROOKLYN, NEW YORK AND DIRECTING DEBTOR TO DISTRIBUTE
     ONE-HALF OF SURPLUS PROCEEDS TO MR. MASLIKHOV; (II) ENTRY OF
   ORDER, PURSUANT TO BANKRUPTCY CODE § 363(E), CONDITIONING ANY
§ 363(H) SALE OF THE PROPERTY ON DEBTOR ADEQUATELY PROTECTING MR.
  MASLIKHOV’S INTERESTS IN SURPLUS PROCEEDS; (III) RECONSIDERATION
        OF CONFORMATION OF DEBTOR’S SECOND AMENDED PLAN OF
      REORGANIZATION TO EXTENT PLAN VIOLATES REQUIREMENTS OF
  BANKRUPTCY CODE § 363(J) AND IMPAIRS MR. MASLIKHOV’S INTERESTS IN
SURPLUS PROCEEDS; AND (IV) ENTRY OF CONFIRMATION ORDER REQUIRING
     DEBTOR AMEND TO PLAN TO PROVIDE THAT ONE-HALF OF SURPLUS
    PROCEEDS BE DISTRIBUTED TO MR. MASLIKHOV AND ALL UNSECURED
           DEBTS AND ADMINISTRATIVE EXPENSES OF DEBTOR BE
       PAID SOLELY OUT OF DEBTOR’S SHARE OF SURPLUS PROCEEDS

                 Sergei Maslikhov (“Mr. Maslikhov”), a party in interest in the above-captioned

chapter 11 case (the “Bankruptcy Case”) of Renee Maslikhov (the “Debtor” and together with

Mr. Maslikhov, the “Spouses”) and defendant in the above-captioned adversary proceeding (the

“Adversary Proceeding”), by and through his undersigned counsel, hereby respectfully moves

(this “Motion”) for: (i) entry of an order, pursuant to Bankruptcy Code § 363(j) and New York
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law, determining that Mr. Maslikhov and the Debtor are each entitled to one-half of the Surplus

Proceeds (as defined below) of any § 363(h) sale of the property located at 328 Jefferson

Avenue, Brooklyn, New York (the “Property”) and directing the Debtor to distribute one-half of

the Surplus Proceeds to Mr. Maslikhov; (ii) entry of an order, pursuant to Bankruptcy Code §

363(e), conditioning any § 363(h) sale of the Property on the Debtor adequately protecting Mr.

Maslikhov’s interests in the Surplus Proceeds; (iii) reconsideration of the Court’s bench

conformation of the Debtor’s Second Amended Plan Of Reorganization (the “Plan”) to the extent

the Plan violates the requirements of Bankruptcy Code § 363(j) and impairs Mr. Maslikhov’s

interests in the Surplus Proceeds; and (iv) entry of a confirmation order conditioned on the

Debtor (a) distributing one-half of the Surplus Proceeds to Mr. Maslikhov and paying the

Debtor’s unsecured debts and administrative expenses solely out of the Debtor’s share of the

Surplus Proceeds, or (b) in the alternative, the placing the entirety of the Surplus Proceeds in

escrow pending a determination by this Court or a New York court of the Spouses’ respective

interests in the Surplus Proceeds, and not distributing any Surplus Proceeds to the Debtor’s estate

or on account of the Debtor’s unsecured debts and administrative expenses until such

determination is made by final order, and in support thereof, respectfully represents as follows:

                                 PRELIMINARY STATEMENT

       1.      The Debtor and Mr. Maslikhov own the Property as tenants-by-entirety. This

Court has entered an order authorizing the Debtor to sell the Property pursuant to Bankruptcy

Code § 363(h) and indicated from the bench that it will confirm the Plan which is premised on

that sale. The Parties anticipate that, after satisfying all liens on the Property and paying the costs

and expenses of the sale, there will be significant surplus proceeds available for distribution (the

“Surplus Proceeds”). By this Motion, Mr. Maslikhov is not opposing the Debtor’s proposed



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363(h) sale of the Property. He also is not opposing distribution of the sale proceeds to pay the

allowed claims of secured creditors or the costs and expenses of the sale. Mr. Maslikhov does,

however, strongly oppose the entirely of the Surplus Proceeds being distributed to the Debtor’s

estate and being used to pay her unsecured debts and the administrative expenses.

       2.      Bankruptcy Code § 363(j) requires that, after a § 363(h) sale of the Property

closes, the Surplus Proceeds must be distributed to Mr. Maslikhov and to the Debtor’s estate in

accordance with their respective interests in the Property. Mr. Maslikhov respectfully submits

that, because his tenancy-by-entirety interests are being terminated by a sale ordered by this

Court—and not by a decree of a divorce court—it is necessary and appropriate for this Court to

determine his and the Debtor’s respective interests in the Surplus Proceeds. Under New York

law, where a tenancy-by-entirety is terminated by a sale (and not by a divorce settlement or

decree), each Spouse is entitled one-half of the sale proceeds. Accordingly, under Bankruptcy

Code § 363(j), the Debtor must distribute one-half of the Surplus Proceeds to Mr. Maslikhov.

       3.      Notwithstanding the clear requirements of Bankruptcy Code § 363(j), the Debtor

is proposing, under her Plan, to distribute all of Surplus Proceeds to her own bankruptcy estate,

and to use the entirety of the Surplus Proceeds—including those in which Mr. Maslikhov holds

interests—to pay her own unsecured debts and administrative expenses. On its face, the Plan

clearly violates Bankruptcy Code § 363(j) and impairs Mr. Maslikhov’s interests in the Property.

It should not be confirmed as currently drafted.

       4.      By this Motion, the Mr. Maslikhov respectfully request that the Court (i)

determine that Mr. Maslikhov and the Debtor are each entitled to one-half of the Surplus

Proceeds, (ii) direct the Debtor to distribute one-half of the Surplus Proceeds to Mr. Maslikhov.

In the alternative, Mr. Maslikhov’s respectfully requests that, to adequately protect Mr.



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Maslikhov’s interests in the Surplus Proceeds, the Court enter an order, pursuant to Bankruptcy

Code § 363(e), directing that the entire Surplus Proceeds be held in escrow pending that

determination by this Court or a New York court of the Mr. Maslikhov’s and the Debtor’s

respective interests in the Surplus Proceeds.

       5.      Mr. Maslikhov further respectfully request that the Court reconsider its bench

confirmation of the Plan, and enter a confirmation order conditioned on the Debtor (a)

distributing one-half of the Surplus Proceeds to Mr. Maslikhov and paying the Debtor’s

unsecured debts and administrative expenses solely out of the Debtor’s share of the Surplus

Proceeds, or (b) in the alternative, the placing the entirety of the Surplus Proceeds in escrow

pending a determination by this Court or a New York court of the Spouses’ respective interests

in the Surplus Proceeds, and not distributing any Surplus Proceeds to the Debtor’s estate or on

account of the Debtor’s unsecured debts and administrative expenses until such determination is

made by final order.

       6.      Counsel to Mr. Maslikhov has provided counsel to the Debtor with proposed

changes to the form of confirmation order circulated by counsel to the Debtor. A copy of those

proposed changes is attached hereto as Exhibit A. Mr. Maslikhov respectfully submits that, if

accepted by the Debtor and the Court, those changes will resolve the issues raised in this Motion.

                         JURISDICTION AND BASES FOR RELIEF

       7.      This Court has jurisdiction to consider this Application pursuant to 28U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this

proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       8.      The bases for the relief sought in this Motion are Bankruptcy Code §§105(a),

363(e), 363(j), and 1129.



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                                        BACKGROUND

       9.      The Debtor and Maslikhov are wife and husband and have owned the Property as

tenants-by-entirety for more than thirteen (13) years. Attached hereto as Exhibit B is a true and

correct copy of their deed to the property.

       10.     On May 1, 2019 (the “Petition Date”) the Debtor commenced this Bankruptcy

Case. On June 18, 2019, the Debtor commenced the Adversary Proceeding, seeking authority to

sell the Property pursuant to Bankruptcy Code § 363(h).

       11.     On September 17, 2019, the Debtor filed a plan of reorganization premised on a

Bankruptcy Code § 363(h) sale of the Property.

       12.     On October 7, 2019, the Court entered an order authorizing the Debtor to sell the

Property pursuant to Bankruptcy Code § 363(h).

       13.     On October 16, 2019, the Court conducted a hearing on confirmation of the

Debtor’s Plan and indicated, from the bench, that it would confirm the Plan.

       14.     Throughout these proceedings, Mr. Maslikhov was representing himself pro se.

       15.     On October 22, 2019, Mr. Maslikhov retained the Law Offices of Jeremy S.

Sussman to represent him in connection with the Bankruptcy Case.

       16.     Upon reviewing the Plan, counsel to Mr. Maslikhov discovered that,

notwithstanding the clear requirements of Bankruptcy Code § 363(j) and the fact that neither this

Court nor the Divorce Court has determined how the Surplus Proceeds should be apportioned

between the Spouses, the Debtor plans to distribute the entire Surplus Proceeds (including those

belong to the Mr. Maslikhov) to the Debtor’s estate, and to use those proceeds to pay the

Debtor’s unsecured debts and administrative expenses.




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         17.     After discussing the Plan with Mr. Maslikhov, counsel to Mr. Maslikhov

  concluded that Mr. Maslikhov had little understanding of the Plan or the significance of the

  confirmation hearing.

         18.     On October 23, 2019, counsel to Mr. Maslikhov provided counsel to the Debtor

  with proposed changes to the form of confirmation attached hereto as Exhibit A.

                                        RELIEF REQUESTED

I.       Entry of Order, Pursuant to Bankruptcy Code § 363(j) and New York Law, (i)
         Determining that Mr. Maslikhov and the Debtor are Each Entitled to One-Half of
         the Surplus Proceeds of any § 363(h) Sale of the Property, and (ii) Directing Debtor
         to Distribute One-Half of Surplus Proceeds Sale Proceeds to Mr. Maslikhov

         19.     Pursuant to Bankruptcy Code § 363(h), a trustee “may sell both the estate’s

  interest, under subsection (b) or (c) of this section, and the interest of any co-owner in property

  in which the debtor had, at the time of the commencement of the case, an undivided interest as . .

  . tenant by the entirety.” 11 U.S.C. § 363(h). Pursuant to Bankruptcy Code § 363(j), after a sale

  of property under § 363(h), the “trustee shall distribute to the debtor’s spouse . . . and to the

  estate, the proceeds of such sale, less the costs and expenses, not including any compensation of

  the trustee, of such sale, according to the interests of such spouse . . . and of the estate. 11

  U.S.C. § 363(j) (emphasis added). 11 U.S.C. § 363(j). In a chapter 11 case, a debtor-in-

  possession acts as trustee for its own estate. Accordingly, where a chapter 11 debtor is

  authorized to conduct a 363(h) sale of its property, it must distribute a portion of the net sale

  proceeds to its non-debtor spouse (in accordance with such non-debtor’s interests in the

  property)—and may only distribute to its estate that portion of the sale proceeds which equals the

  debtor’s interests in the property.

         20.     Here, the Debtor and Mr. Maslikhov own the Property as tenants-by-entirety, and

  the Court has entered an order authorizing the Debtor to sell the Property pursuant to Bankruptcy


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Code § 363(h). The parties anticipate that, after satisfying all liens on the property and paying

the costs and expenses of the sale, there will be significant Surplus Sale Proceeds available for

distribution. Accordingly, to comply with the Bankruptcy Code’s § 363(j) requirements for a §

363(h) sale, the Debtor must distribute to Mr. Maslikhov a portion of the Surplus Sale Proceeds

equal to Mr. Maslikhov’s interests in the Property. Moreover, pursuant to Bankruptcy Code §

363(j), that Debtor can only distribute to her estate, and use to pay her unsecured debts and

administrative expenses, that portion of the Surplus Proceeds that is equals the Debtor’s interests

in the Property.

       21.     Mr. Maslikhov’s and the Debtor’s respective interests in the Property are

determined by New York law because the Property is located in New York. See Butner v. United

States, 440 U.S. 48 (1979). Under New York law, tenants by the entirety have the “right to the

use of an undivided half of the property during the joint lives of a husband and wife and a

survivorship right to the entire fee. Each tenant by the entirety is said to be seized of the whole

estate.” Community Nat'l Bank and Trust Co. of New York v. Persky (In re Persky), 893 F.2d 15,

19 (2d Cir.1989).

       22.     Under New York law, a tenancy-by-entirety can be terminated be a divorce

settlement or decree, in which case the spouses’ respective interests in the property are

determined by such settlement or decree. Under New York law, a tenancy-by-entirety is also

terminated by any sale of property, because New York does not recognize a tenancy-by-entirety

in any class of assets other than real property.

       23.     Under New York law, when a tenancy-by-entirety is terminated by a sale,

husband and wife are each entitled to one-half of the sale proceeds, even if one spouse

contributed the entire purchase price. “[B]ecause their respective interests are the same and equal



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   during their joint lives as husband and wife, each is entitled to an equal share in the consideration

   given for the deed and entitled to one-half of the proceeds of the sale of the real property. See

   Secrist v. Secrist, 284 A.D. 331, 334, 132 N.Y.S.2d 412, 415 (N.Y.App. Div. 4th Dep't 1954),

   aff'd, *588 308 N.Y. 750, 125 N.E.2d 107 (N.Y.1955) (holding that wife was entitled to one-half

   of the proceeds of sale even though the husband contributed the entire purchase amount). See

   also Popky v. United States, 419 F.3d 242, 243 (3d Cir. 2005) (holding each spouse entitled to

   50% of proceeds of sale of property held by tenancy by entirety); In Re Levinson, 372 B.R. 582

   (Bankr. E.D.N.Y. 2007) (holding debtor and non-debtor spouse each have 50% interest in

   property held as tenancy-by-entirety); In re Ignasiak, 22 B.R. 828 (Bankr. E.D. Mich. 1982); In

   re Blair, 151 B.R. 849 (S.D. Ohio 1992).

          24.     Here, the Spouses’ tenancy-by-entirety is being terminated by the 363(h) sale, and

   not by a divorce settlement or decree. Accordingly, under New York law, the Spouses respective

   interest in the Surplus Proceeds should be determined by their interests in the Property

   immediately prior to the sale (and not by any future divorce settlement or decree). Under New

   York law, because the Spouses hold that Property as tenants-by-entirety, Mr. Maslikhov and the

   Debtor should be entitled to one-half of the Surplus Proceed upon any sale of the Property.

   Accordingly, Mr. Maslikhov respectfully requests that the Court enter and order (i) determining

   that Mr. Maslikhov and the Debtor are each entitle to one-half of the Sale Proceeds, and (ii)

   directing the Debtor to distribute one-half of the Surplus Sale Proceeds to Mr. Maslikhov

   immediately following the close of the sale.

II.       Entry of an Order, Pursuant to Bankruptcy Code § 363(E), Conditioning Any §
          363(H) Sale of the Property on the Debtor Adequately Protecting Mr. Maslikhov’s
          Interests in the Surplus Proceeds

          25.     Bankruptcy Code § 363(e) provides that “Notwithstanding any other provision of

   this section, at any time, on request of an entity that has an interest in property used, sold, or

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leased, or proposed to be used, sold, or leased, by the trustee, the court, with or without a

hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e). Here, it is undisputed that Mr. Maslikhov holds

a tenancy-by-entirety interest in the Property. Mr. Maslikhov hereby respectfully requests that

any section 363(h) sale of the Property be conditions on his interests in the Property and resulting

Surplus Proceeds being adequately protected.

       26.     Notwithstanding Mr. Maslikhov’s interests in the Property and the Surplus

Proceeds, and the requirements of Bankruptcy Code § 363(j), the Debtor is proposing under the

Plan to distribute the entire Surplus Proceeds to the Debtor’s estate, and to use the Surplus

Proceeds to pay the Debtor’s individual unsecured debts and administrative expenses. The

Debtor is further proposes that after the Debtor’s unsecured debts and administrative expenses

have been paid by the entirety of the Surplus Proceeds, any remaining funds be held by the

Debtor’s attorney pending a determination by this Court or the Divorce Court of how such

remaining funds should be distributed. This scheme puts the cart before the horse, and clearly

impairs Mr. Maslikhov interests in the Surplus Proceeds because it would use the Surplus

Proceeds to pay the Debtor’s debts before there has been a determination by the this Court or the

Divorce Court as to whether the Surplus Proceeds are property of the Debtor’s estate, and to

what extent.

       27.     Mr. Maslikhov’s respectfully requests that, to adequately protect his interests in

the Surplus Proceeds, the Court enter an order, pursuant to Bankruptcy Code § 363(e), directing

that the entire Surplus Proceeds be held in escrow pending entry of a final order determining the

Spouses’ respective interests in the Surplus Proceeds by this Court or a New York court, and




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   prohibiting the Debtor from distributing or using the Surplus Proceeds until such final order is

   entered.

III.      Reconsideration of the Court’s Conformation of the Debtor’s Second Amended Plan
          of Reorganization to the Extent the Plan Violates the Requirements of Bankruptcy
          Code § 363(j) and Impairs Mr. Maslikhov’s Interests in the Surplus Proceeds

          28.     Under Bankruptcy Code § 1129(a)(1), a plan of reorganization cannot be

   confirmed if it fails to comply with all provisions of the Bankruptcy Code. Under Bankruptcy

   Code § 1129(a)(8), a plan of reorganization cannot be confirmed with respect to a class of

   interest unless such class has accepted the plan or is not impaired by the plan. Here, the Plan

   violates Bankruptcy Code § 363(j), and thus cannot be confirmed under Bankruptcy Code

   § 1129(a)(1), because it fails to provide for distribution of the Surplus Proceeds to Mr.

   Maslikhov on account of his interests. The Plan also cannot be confirmed under Bankruptcy

   Code § 1129(a)(8) to the extent it proposes to distribute the entirety of the Surplus Proceeds to

   the Debtor’s estate to pay her unsecured debts and administrative expenses, because such

   distribution and payments would impair Mr. Maslikhov’s interests in the Surplus Proceeds, and

   Mr. Mr. Maslikhov has not accepted the plans. Accordingly, Mr. Maslikhov respectfully requests

   that the Court reconsider confirmation of the Plan, and condition any order confirming the Plan

   on the Debtor amended the Plan to comply with the requirements of Bankruptcy Code §§ 363(j)

   and 1129(a)(8).

IV.       Entry of a confirmation order requiring the Debtor to amend the Plan to provide
          that one-half of the Surplus Proceeds will be distributed to Mr. Maslikhov and that
          all unsecured debts and administrative expenses of the Debtor will be paid out of the
          Debtor’s share of the Surplus Proceeds

          29.     Mr. Maslikhov does not oppose confirmation of a plan premised on a § 363(h)

   sale of the Property. Specifically, he does not oppose a near-term sale of the Property and

   distribution of the sale proceeds to pay Class 1, Class 2 and Class 3 Secured Claim and the costs


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and expenses of the sale—provided that the Plan provides for the distribution to him of his share

of the Surplus Proceeds as required by Bankruptcy Code § 363(j). Mr. Maslikhov respectfully

requests that any order confirming the Plan provide that confirmation is contingent on the Debtor

(i) distributing one-half of the Surplus Proceeds to Mr. Maslikhov, and (ii) paying the Debtor’s

unsecured debts and administrative expenses solely out of the Debtor’s share of the Surplus

Proceeds. In the alternative, Mr. Maslikhov respectfully requests that any order confirming the

Plan provide that confirmation is contingent on the Debtor (a) placing the entirety of the Surplus

Proceeds in escrow with counsel to the Debtor and counsel to Mr. Maslikhov pending a final

determination by this Court or a New York court of the Spouses’ respective interests in the

Surplus Proceeds, and (b) not distributing any Surplus Proceeds to the Debtor’s estate or on

account of the Debtor’s unsecured debts and administrative expenses until such determination is

made by final order.

                                            NOTICE

        30.    Notice of the Motion shall be provided to (i) the Debtor, (ii) the United States

Trustee, and (iii) parties who have filed notices of appearance in the Bankruptcy Case. Movant

respectfully submits that such notice is reasonable under the circumstance, and no further notice

is required.

                                    NO PRIOR REQUEST

        31.    No prior request for the relief sought herein has been made to this Court or any

other court.

               WHEREFORE, Mr. Maslikhov respectfully requests that the Court (i) enter of an

order, pursuant to Bankruptcy Code § 363(j) and New York law, determining that Mr. Maslikhov

and the Debtor are each entitled to one-half of the Surplus Proceeds of any § 363(h) sale of the



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Property and directing the Debtor to distribute one-half of the Surplus Proceeds to Mr.

Maslikhov; (ii) enter an order, pursuant to Bankruptcy Code § 363(e), providing Mr. Maslikhov

with adequate protection for his interests in the Surplus Proceeds; (iii) reconsider conformation

of the Plan to the extent the Plan violates the requirements of Bankruptcy Code § 363(j) and

impairs Mr. Maslikhov’s interests in the Surplus Proceeds; and (iv) enter an order conditioning

confirmation on (a) the Debtor distributing one-half of the Surplus Proceeds to Mr. Maslikhov

and paying the Debtor’s unsecured debts and administrative expenses solely out of the Debtor’s

share of the Surplus Proceeds, or (b) in the alternative, the Debtor placing the entirety of the

Surplus Proceeds in escrow with counsel to the Debtor and counsel Mr. Maslikhov pending a

determination by this Court or a New York court of the Spouses’ respective interests in the

Surplus Proceeds, and not distributing any Surplus Proceeds to the Debtor’s estate or on account

of the Debtor’s unsecured debts and administrative expenses until such determination is made by

final order; and (v) granting Mr. Maslikhov such other relief as is just.

 Dated: New York, NY
        October 24, 2019

                                             THE LAW OFFICE OF JEREMY S. SUSSMAN

                                             By: /s/ Jeremy S. Sussman
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                                            Counsel to Sergei Maslikhov




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                               Exhibit A
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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                                                           :
 In re                                                     :
                                                           :
 RENEE MASLIKHOV                                           : Chapter 11
                                                           :
 aka RENEE BUTLER                                          :   Case No. 19-42688 (CEC)
                                                            :
                   Debtor.                                 :
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         Ms. Renee Maslikhov aka Renee Butler (the “Debtor”), having filed its First

 Amended Plan of Reorganization dated September 25, 2019, the above-captioned

 chapter 11 case [ECF No. 51] and same being amended subsequently and filed as

 Second Amended Plan (the “Plan”) [ECF 63]; and due notice having been given

 under the circumstances; and a combined hearing on the approval of the Disclosure

 Statement and confirmation of the Plan having been held on October 16, 2019, at

 which appeared Karamvir Dahiya (counsel to Debtor), Ms. Marymartin Lou

 Marylou Martin (U.S. Trustee), Denrick Cooper (Proposed Real Estate Counsel)

 Brian G. Hannon, (counsel to Standard Oil Credit Holding Corp), __________

 (Counsel for Nationstar Mortgage LLC DBA Mr. Cooper as servicer for Federal

 National Mortgage Association), Renee Maslikhlov (and the Debtor) (the

 “Hearing”); and the Court having found: (a) that the transfer of the Debtor’s

 realDebtor and her husband Sergei Maslikhov (“Mr. Maslikhov” and together with

 the Debtor, the Spouse”) holding title to the property located at 328 Jefferson

 Avenue, Brooklyn New York (the “Real Property”) as tenants by the entirety; and

 the Debtor having commenced an adversary proceeding against Mr. Maslikhov

 seeking authority to sell the Property pursuant to Bankruptcy Code section 363(h);

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 and the Bankruptcy Court having entered an order authorizing the Debtor to sell the

 Property pursuant to section 363(h); and the Debtor having proposed in the Plan to

 sell the Real Property to Adrian Bartos for the purchase price of $1,850,000.00; and

 the Court having found: (a) that the transfer of the Real Property under the Plan (the

 “Sale Transaction”) is an arms-length transaction, noncollusivenon-collusive, fair

 and reasonable, and conducted openly and in good faith in accordance , and is in

 the best interests of the Debtor, the estate and creditors, (b) that Adrian Bartos, as

 the purported transferee of the Property, is a good faith purchaser within the

 meaning of the Bankruptcy Code § 363(m)          and, as such, is entitled to the full

 protection of Bankruptcy Code §b 363(m) or similar provisions of law, (c) that the

 sale of the Property to the Purchaser was not controlled by an agreement among

 potential purchasers in violation of Bankruptcy Code § 363(n), and (d) that the

 requirements for confirmation of the Plan set forth in 11 U.S.C. 1129(a) have been

 satisfied at the Hearing; and upon the record of the Hearing and the proceedings

 had herein

 which is incorporated herein by reference; and after due deliberation;

 it is hereby

         ORDERED, that pursuant to section 1129 of the Bankruptcy Code, the

 Plan, as amended by this Confirmation Order, be, and it hereby is, confirmed; and

 it is further

         ORDERED for expeditious closing on the Sale Transaction, this Order

 Confirming the Plan is not stayed and is effective; and it is further



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          ORDERED, that the Chapter 11 Plan Effective Date for this case is 30

 days commencing from the entry of this Order; and it is further

          ORDERED, that Law Offices of Denrick Cooper shall be the

 “Disbursing Agent” [Art. 1, ¶ 1.19 of the Second Amended Plan] pursuant to the

 Plan provisions and shall act in such capacity in order to effectuate the payment

 of distributions under this Plan, upon the proper application and orders from the

 Court and shall and shall file a disbursement report with this Court upon making

 such distributions; and it is further

          ORDERED, that Law Offices of Denrick Cooper shall represent the

 Debtor for the sole purpose of Sale Transaction for a fixed remuneration of

 $4000;

          ORDERED, that in furtherance of the Plan, pursuant Bankruptcy Code §

 363(h), the Debtor is authorized and directed to sell, transfer and convey the

 Property to the Purchaser as set forth herein pursuant to the Sale Transaction free

 and clear of all liens, encumbrances and interests, with all such liens claims and

 encumbrances and interests to attach to the proceeds of sale, for the purchase price

 of $1,850,000 (with customary adjustments as circumstances may require);, the

 “Gross Sale Proceeds”); and it is further

          ORDERED, that Law Offices of Denrick Cooper shall represent the

 Debtor as attorney for the sole purpose of Sale Transaction for a fixed

 remuneration of $4000 (the “Legal Fee”);




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         ORDERED, that [NAME OF BROKER] shall represent the Debtor as

 real estate broker for the sole purpose of Sale Transaction for a commission equal

 to [X]% of the Net Sale Proceeds, in the amount of approximately [$_____] (the

 “Broker Commission”);

         ORDERED, that the Purchaser is a good faith purchaser within the

 meaning of Bankruptcy Code § 363(m) and, as such, is entitled to the full protection

 of Bankruptcy Code § 363(m) or similar provision of law; and it is further

         ORDERED, that at the closing of the transfer of the Property, the Debtor

 be, and it hereby is, authorized and directed to execute and deliver such documents

 (collectively, the “Closing Documents”) as may be necessary for the Debtor to close

 the sale of the Property to the Purchaser as set forth in the Plan; and it is further

         ORDERED, that pursuant to §§1123(a)(5)(D), 1141(c) and 363(f) of the

 Bankruptcy Code, upon the Closing, the Property (and good and marketable title to

 the Property) and all of the Debtor’s rights, title and interest therein shall be

 transferred to the Purchaser pursuant to the Sale Transaction free and clear of all

 Liens, with all such Liens to attach to the net cash proceeds of the Sale Transaction

 proceeds of sale in the order of their priority, with the same validity, force and

 effect which they now have as against the Property, subject to any claims and

 defenses, setoffs or rights of recoupment the Debtor may possess with respect

 thereto; and it is further


         ORDERED, that at the closing of the transfer of the Property, the Debtor

 be, and it hereby is, authorized and directed make the following disbursements from

 the proceeds of the Gross Sale Transaction, theProceeds: (i) payment in full of the

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 allowed secured creditors (claims of Class One, Class Two and Class Three of the

 Creditors) would be paid from the net proceeds, with Class Two (Standard Oil

 Credit Corp) to be paid the amount as reflected in the filed Proof of Claim including

 any interest accruing thereafter until the payment date; it is further (ii) payment in

 full of the Legal Fee; (iii) payment in full of the Broker Commission; and (iv)

 payment in full of all other usually and customary closing expenses paid by the

 seller of real property (collectively, the “Closing Payments, Costs, and Expenses”).

 The Gross Sale Proceeds remaining after disbursement of all Closing Payments,

 Costs and Expenses shall be hereinafter referred to as the “Surplus Proceeds”.

        [ALTERNATIVE 1] [ORDERED, that at the closing of the transfer of the

 Property, pursuant to Bankruptcy Code § 363(j), the Debtor be, and it hereby is,

 authorized and directed to disburse the Surplus Proceeds as follows: (i) one-half of

 the Surplus Proceeds to the Debtor for the benefit of her estate and creditors (the

 “Debtor’s Surplus Proceeds”); and (ii) one-half of the Surplus Proceeds to the

 Sergei Maslikhov (“Mr. Maslikhov’s Surplus Proceeds”).]

        [ALTERNATIVE 2] [ORDERED, that at the closing of the transfer of the

 Property, pursuant to Bankruptcy Code § 363(e), the Debtor be, and it hereby is,

 authorized and directed to disburse (i) one-half of the Surplus Proceeds to counsel

 to the Debtor, and (ii) one-half of the Surplus Proceeds to counsel the Sergei

 Maslikhov. The Surplus Proceeds shall be held in escrow by the Spouses’

 respective counsel in IOLTA accounts until such time at the Bankruptcy Court or a

 New York court determines, by final order, the amounts of the Debtor’s interests in

 the Surplus Proceeds (the “Debtor’s Surplus Proceeds”) and Sergei Maslikhov’



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 interests in the Surplus Proceeds (“Mr. Maslikhov’s Surplus Proceeds”). Following

 such final determination by the Bankruptcy Court or a New York court, pursuant

 to Bankruptcy Code § 363(j), the Debtor’s Surplus Proceeds shall be distributed to

 the Debtor for the benefit of her estate and creditors, and Mr. Maslikhov’s Surplus

 Proceeds shall be disbursed to Mr. Maslikhov.]

         ORDERED, that, notwithstanding anything to the contrary in the Plan, all

 distributions on account of allowed Administrative Claims, Administrative

 Professional Fee Claims, Priority Tax Claims, United States Trustee’s Fees, Class

 4 General Unsecured Claims, and Class 6 Interests of the Debtor shall be made

 from the Debtor’s Surplus Proceeds; for the avoidance of doubt, no such

 distributions shall be made on account of such claims from the Mr. Maslikhov’s

 Surplus Proceeds.

         ORDERED, that Law Offices of Denrick Cooper shall hold the Debtor’s

 Surplus Proceeds remaining net proceeds after payment [after resolutions of any

 objections] of allof all allowed claims (including Administrative Expense Claims)

 of creditors having dully timely filed their Proofs of Claims, until further orders

 from this Court; it is further

         ORDERED, thatORDERED, that Sergei Maslikhov and his counsel shall

 be provided with at least five (5) business days prior notice of the time and location

 of the closing of the Sales Transaction, and shall be permitted to attend and

 participate in the closing, including signing such documents as are necessary to

 transfer title to the Property. To the extent Sergei Maslikhov fails after such notice

 to attend the closing, or unreasonably refuses to sign the documents at the closing,



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 provided that the closing is conducted in accordance with this order the Debtor be,

 and hereby is, authorized and directed to execute, in the name of any necessary

 party including that of the co-owner, Sergei Maslikhov to effectuate completion of

 the Sales Transaction and to deliver and execute the Deed delivery regarding the

 Real Property as adjudicated in the Adversary Proceeding, No. 19-01083; and it is

 further

           ORDERED, that the Debtor be, and hereby is, authorized and directed to

 execute, in the name of any necessary party, any notice of satisfaction, release or

 discharge of any lien, claim or encumbrance not expressly preserved in the Plan

 and this Order, and to deliver such notices to any and all federal, state and local

 governmental agencies or departments for filing and recordation; and it is further

           ORDERED, that the Office of the New York City Register is hereby

 authorized and directed to record the deed and all other documents as so executed;

 and it is further

           ORDERED, that, pursuant to Bankruptcy Code § 1146, the delivery of the

 deed to be issued to the Purchaser pursuant to the Plan shall be made in

 implementation of the Plan, and qualify for the transfer tax exemption under section

 1146(a) of the Bankruptcy Code, such that the filing of said deed shall not be subject

 to payment of any local, county or State (TP 584) transfer tax, a stamp tax or similar

 tax; and it is further

           ORDERED, that each and every federal, state and local governmental

 agency or department shall be authorized to accept and record any and all

 documents and instruments necessary, useful or appropriate to effectuate,



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 implement and consummate the transactions contemplated by the Plan, including,

 but not limited to any and all notices of satisfaction, release or discharge of any

 lien, claim or encumbrance not expressly preserved by the Plan; and it is further

           ORDERED, that the Debtor shall file, within 45 days after the date of entry

 of this Order, a status report detailing the actions taken by the Debtor and the

 progress made toward the consummation of the Plan; and it is further

           ORDERED, that the Debtor shall file status reports with the Court every

 January 15th, April 15th, July 15th, and October 15th until a final decree has been

 entered closing the Debtor’s chapter 11 case; and it is further

           ORDERED, that a post-confirmation status conference shall be held in

 this case on December _____, 2019, at ______ p.m.; and it is further


           ORDERED, that the Debtor shall pay to the United States Trustee all fees

 due and payable by the Debtor, if any, under and pursuant to 28 U.S.C. § 1930, plus

 all applicable interest thereon, until the Debtor’s chapter 11 case is either dismissed,

 converted to chapter 7, or until a final decree is entered closing the Debtor’s chapter

 11 case, whichever is earlier; and it is further

           ORDERED, that this Court hereby retains exclusive jurisdiction over this

 Order and to hear and to determine all controversies, suits, disputes and or tax issues

 if any, as may arise in connection with the consummation of the Plan; and it is

 further

           ORDERED, that notwithstanding anything in the Disclosure Statement or

 in any order approving the Disclosure Statement, or in the Plan or in the

 Confirmation this Order approving the Plan, no exculpation, waiver, release or

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 injunction shall apply to or impair in any way any claims or rights that the Debtor

 and Sergei Maslikhov might have against each other; and it is further

        ORDERED, that notwithstanding any provision in the Bankruptcy Rules

 to the contrary, the terms of this Order shall be effective immediately and

 enforceable upon its entry.

                                                ____________________________
                                                                 Carla E. Craig
                                                United States Bankruptcy Judge




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                               Exhibit B
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